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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


  STATE OF ILLINOIS,

                                  Plaintiff,
                                                         Case No. 17-cv-6260
                     v.
                                                         Judge Robert M. Dow, Jr.
  CITY OF CHICAGO,

                               Defendant.


            CITY OF CHICAGO’S NOTICE OF SUPPLEMENTAL EXHIBITS
                    IN FURTHER SUPPORT OF ITS RESPONSE
                      IN OPPOSITION TO THE COALITION’S
                  MOTION TO ENFORCE THE CONSENT DECREE

       The City of Chicago (“City”), by and through its undersigned attorneys, submits the

attached supplemental exhibits in further support of its Response in Opposition to the Coalition’s

Motion to Enforce the Consent Decree (“Response”) (Dkt. No. 932). On March 3, 2021, the

Chicago Police Department (“CPD”) released a preliminary draft of Special Order 4-19 (“SO4-

19”), which proposes changes to CPD’s search warrant policy. A copy of that draft is attached

hereto as Exhibit A. The draft of SO4-19 is proposed to rescind and alter CPD’s current search

warrant policy, which was effective as of January 3, 2020. A Revision Comparison detailing SO4-

19’s proposed changes to the January 3, 2020 version of the policy is attached hereto as Exhibit

B. These documents will be available on CPD’s website for public comment for fifteen days from

their release, until March 18, 2021.
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         The City submits these supplemental exhibits in further support of Section V of its

Response. See Dkt. No. 932 at 8-9.


 Dated: March 4, 2021                               Respectfully submitted,

                                                    CELIA MEZA
                                                    Acting Corporation Counsel of the
                                                    CITY OF CHICAGO
                                          By:
                                                    /s/ Allan T. Slagel
                                                    Special Assistant Corporation Counsel


 Allan T. Slagel (ARDC #6198470)
 aslagel@taftlaw.com
 Elizabeth E. Babbitt (ARDC # 6296851)
 ebabbitt@taftlaw.com
 Paul J. Coogan (ARDC # 6315276)
 pcoogan@taftlaw.com
 Adam W. Decker (ARDC # 6332612)
 adecker@taftlaw.com
 TAFT STETTINIUS & HOLLISTER LLP
 111 East Wacker Drive, Suite 2800
 Chicago, Illinois 60601
 (312) 527-4000

 Tyeesha Dixon
 tyeesha.dixon@cityofchicago.org
 Deputy Corporation Counsel
 for Public Safety Reform
 121 North LaSalle Street, Room 600
 Chicago, Illinois 60614
 (312) 744-1806
 Attorneys for Defendant

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